                                                                                     DISTRICT OF OREGON
                           Case 24-62091-tmr13         Doc 20     Filed 10/16/24          FILED
                                                                                        October 16, 2024
                                                                                   Clerk, U.S. Bankruptcy Court



           Below is an order of the court.




                                                                  _______________________________________
                                                                              THOMAS M. RENN
                                                                            U.S. Bankruptcy Judge




OSADWN (11/8/16) cal            UNITED STATES BANKRUPTCY COURT
                                         District of Oregon

In re                                                           )
 Ty Joshua Kirkpatrick, xxx−xx−0959                             ) Case No. 24−62091−tmr13
Debtor(s)                                                       )
                                                                ) ORDER SETTING ASIDE
                                                                ) DISMISSAL, REOPENING
                                                                ) CASE IF CLOSED, AND
                                                                ) FIXING TIME TO FILE
                                                                ) MOTION TO RECONSIDER
                                                                )

It appearing a motion was filed to set aside the order of dismissal previously entered in this case, and after
due consideration and for good cause shown,

IT IS ORDERED that:

  1. The court's order of dismissal is vacated and set aside, the case will be reopened (if closed), the case
     will continue as a Chapter 13 case, and all reopening/filing fees have been paid.

  2. Certain acts and proceedings against each debtor and debtor's property are again stayed as provided
     in 11 USC §362(a), and against certain codebtors as provided in 11 USC §1301.

  3. If applicable, all documents listed on the Order and Notice Regarding Filing of Document(s) and Notice
     of Proposed Dismissal that have not been filed must be filed within 14 days of entry of this Order.
     Failure to file the documents within 14 days will result in dismissal of the case.

  4. Any previously entered order directing Chapter 13 payments to a trustee that was terminated by the
     dismissal is hereby reinstated and the debtor's employer (or other named party) is directed to again
     pay such wages to the trustee.

  5. The court may reconsider the entry of this order if an interested party files both (a) a motion for
     reconsideration, setting forth the specific grounds for such motion, within 21 days of the "Filed" date
     above, with the Clerk of Court, 405 E 8th Ave #2600, Eugene, OR 97401, and (b) attaches a
     certification that copies of the motion were contemporaneously served on the debtor(s), Trustee, U.S.
     Trustee, and their respective attorneys.

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